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                                                       U.S. Department of Justice

                                                       United States Attorney
                                                       Southern District of New York



                                                       86 Chambers Street, 3rd floor
                                                       New York, New York 10007


                                                      March 21, 2025

BY ECF
The Honorable Jeannette A. Vargas
United States District Judge
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007

       Re:     State of New York et al. v. Trump et al., No. 25 Civ. 1144 (JAV)

Dear Judge Vargas:

        This Office represents the defendants in the above-captioned matter. I am writing,
with the consent of the plaintiffs, respectfully to request that the date for the defendants to
submit their report to the Court regarding the remaining Treasury DOGE Team members
be extended from Monday, March 24, 2025, to a date to be set by the Court after it rules
on the defendants pending motion to partially dissolve the preliminary injunction as to
Ryan Wunderly (ECF No. 111). As the Court is aware, in its February 21, 2025 Opinion
and Order, the Court ordered the defendants to submit a report by March 24, 2025,
addressing five specified issues pertaining to the Treasury DOGE Team members, with
briefing to follow the submission of the report. See ECF No. 76 at 63-64. On March 5,
2025, the defendants filed a report with respect to Treasury DOGE Team member Ryan
Wunderly (ECF No. 98), and, on March 10, 2025, moved to partially dissolve the
preliminary injunction as to Mr. Wunderly (ECF No. 111). The defendants request this
extension because they submit that it would be most efficient for the parties and the Court
to first receive the Court’s ruling on the defendants’ motion to partially dissolve the
preliminary injunction before the defendants submit an additional report and the parties
submit further briefing. This is the defendants’ first request for an extension of the deadline
to submit the report.

        The defendants also respectfully request a prompt ruling on their pending motion
to partially dissolve the preliminary injunction as to Ryan Wunderly.
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   Thank you for your attention to this matter.


                                              Respectfully,

                                              MATTHEW PODOLSKY
                                              Acting United States Attorney for the
                                              Southern District of New York
                                              Attorney for Defendants

                                         By: /s/ Jeffrey S. Oestericher__    _
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